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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

                                              )
JUDICIAL WATCH, INC.,                         )
                                              )
       Plaintiff,                             )
                                              )
               v.                             )      Civil Action No. 20-0239 (TFH)
                                              )
UNITED STATES DEPARTMENT OF                   )
STATE,                                        )
                                              )
       Defendant.                             )
                                              )

                                   JOINT STATUS REPORT

       Pursuant to the Court’s Minute Order of April 10, 2020, Plaintiff Judicial Watch, Inc.,

and Defendant United States Department of State (“State”), by and through undersigned counsel,

respectfully submit this Joint Status Report in this Freedom of Information Act (“FOIA”) case.

       This action involves Plaintiff’s November 20, 2019, FOIA request seeking from

Defendant communications between identified individuals working at the U.S. Embassy in Kiev

and a National Security Council staffer, as well as records pertaining to a January 2016 meeting

at the White House. ECF No. 1 ¶ 5.

       Defendant has advised Plaintiff that, due to the COVID-19 global pandemic, the agency

is unable to process most FOIA requests, including Plaintiff’s request, at this time. The agency

employees responsible for processing the request are currently unable to remotely access the

documents, many of which are stored on a classified computer network. The parties agree that as

long as the relevant employees are unable to access the documents responsive to Plaintiff’s

request, the agency’s obligation to respond to Plaintiff’s request should be stayed.
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       Despite these limitations on access to responsive documents, Defendant has been

conducting searches to the extent possible, and will continue to do so. Certain types of records,

such as paper files and records stored on the classified system, however, cannot be searched at

this time. Defendant expects to resume searches of these categories of records when they can be

accessed by agency employees.

       The parties propose to submit a further Joint Status Report no later than May 25, 2020,

and every 30 days thereafter, until Defendant is able to process Plaintiff’s request. Thereafter,

the parties propose to submit a Joint Status Report every 60 days.

Dated: April 22, 2020                           Respectfully submitted,

                                                /s/ Paul J. Orfanedes
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